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12   Advertiser Classes

13
                                UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16
     MAXIMILIAN KLEIN, et al.,                        Case No. 20-cv-08570-JD
17
             Plaintiffs,                              Hon. James Donato
18
           v.                                         DECLARATION OF BRIAN J. DUNNE
19                                                    IN SUPPORT OF ADVERTISER
     META PLATFORMS, INC.,                            PLAINTIFFS’ ADMINISTRATIVE
20                                                    MOTION TO CONSIDER WHETHER
             Defendant.                               ANOTHER PARTY’S MATERIAL
21                                                    SHOULD BE SEALED
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                            Declaration of Brian J. Dunne - Case No. 20-cv-08570-JD
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 1          I, Brian J. Dunne, declare and state as follows:

 2          1.      I am an attorney licensed in the State of California and admitted to the United States

 3 District Court for the Northern District of California. I am a partner at Bathaee Dunne LLP, counsel for

 4 the Advertiser Plaintiffs in the above-captioned matter. I have personal knowledge of the facts set forth

 5 herein and, if called as a witness, could and would testify competently to them.

 6          2.      This declaration is made in support of Advertiser Plaintiffs’ Administrative Motion to

 7 Consider Whether Another Party’s Material Should Be Sealed, filed in connection with the concurrently

 8 filed discovery dispute letter.
 9          3.      Certain documents and information referenced in the discovery dispute letter have been
10 designated by Defendant Meta Platforms, Inc., as “Confidential” or “Highly Confidential” under the

11 Stipulated Protective Order (Dkt. No. 314).

12          4.      Portions of the discovery dispute letter referencing or reflecting the contents of the
13 documents and information designated by Meta Platforms as “Confidential” or “Highly Confidential”

14 have been redacted from the publicly filed version of the letter. See Civil L.R. 79-5(e)(1).

15          5.      An unredacted version of the discovery dispute letter with these references highlighted
16 is filed herewith. See Civil L.R. 79-5(e)(2), (f)(1).

17          6.      Advertiser Plaintiffs’ request is limited to documents and information produced by Meta
18 Platforms marked Confidential or Highly Confidential, or information directly reflecting documents

19 and information produced by Meta Platforms marked Confidential or Highly Confidential. This request

20 is thus narrowly tailored to seek sealing only of potentially sealable material.

21          I declare under penalty of perjury that the foregoing is true and correct.

22          Executed on April 4, 2023, in Austin, Texas.

23                                                             /s/ Brian J. Dunne
                                                               Brian J. Dunne
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                                Declaration of Brian J. Dunne - Case No. 20-cv-08570-JD
